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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 NEXTERA ENERGY GLOBAL HOLDINGS
 B.V. and NEXTERA ENERGY SPAIN
 HOLDINGS B.V.,
                                                       Civil Action No. 19-cv-01618-TSC
                         Petitioners,

                  v.

 KINGDOM OF SPAIN,

                         Respondent.


  RENEWED MOTION OF THE KINGDOM OF SPAIN TO DISMISS PETITIONERS’
              PETITION TO ENFORCE ARBITRAL AWARD
                    (ORAL HEARING REQUESTED)

        Respondent the Kingdom of Spain (“Spain”) hereby moves to dismiss Petitioners NextEra

Energy Global Holdings B.V. and NextEra Energy Spain Holdings B.V.’s Petition to Enforce

Arbitral Award, with prejudice, pursuant to Federal Rules of Civil Procedure 12(b)(1), (2) and (6).

        Pursuant to Local Civil Rule 7(f), Spain respectfully requests that the Court schedule an

oral hearing on its motion.

        This motion is based upon the accompanying Memorandum of Points and Authorities in

Support, as well as the Declaration of Steffen Hindelang, and the exhibits attached thereto, filed

concurrently with this motion.



        WHEREFORE, Spain respectfully requests that its motion to dismiss be granted or, in the

alternative, that its request for a stay be granted.
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Dated: May 2, 2022

                                   Respectfully submitted,

                                   By:    /s/ Matthew J. Weldon

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                                CERTIFICATE OF SERVICE

I certify that on May 2, 2022, I caused a true and correct copy of the foregoing to be filed using

the Court’s Electronic Case Filing System (“ECF”). The document is available for review and

downloading via the ECF system, and will be served by operation of the ECF system upon all

counsel of record.



                                                    /s/ Matthew J. Weldon
                                                    Matthew J. Weldon




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